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1                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTH DISTRICT OF GEORGIA
2                                  ATLANTA DIVISION
3
4
                                                             )
5          DONNA CURLING, ET AL.,                            ) CIVIL ACTION NO.
                                                             ) 1:17-CV-2989-AT
6                      PLAINTIFFS,                           )
                                                             )
7          v.                                                )
                                                             )
8          BRAD RAFFENSPERGER, ET AL.,                       )
                                                             )
9                  DEFENDANTS.                               )
           ---------------------------------
10
11
12
13                            DEPOSITION OF DONNA PRICE
14                              (TAKEN by DEFENDANTS)
15                  ATTENDING VIA ZOOM IN FULTON COUNTY, GEORGIA
16                                  MARCH 8, 2022
17
18
19
20         REPORTED BY:               Meredith R. Schramek
                                      Registered Professional Reporter
21                                    Notary Public
                                      (Via Zoom in Mecklenburg County,
22                                    North Carolina)
23
24
25

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1                   Deposition of Donna Price, taken by the

2         defendants via Zoom on the 8th day of March, 2022, at

3         10:12 a.m., before Meredith R. Schramek, RPR, Notary

4         Public.

5

6                                     C O N T E N T S

7         The Witness:          DONNA PRICE

8         Examination By Mr. Russo .............................5

9

10                        I N D E X     of the    E X H I B I T S

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13        Exhibit 2           Georgians for Verified Voting ........24

14        Exhibit 3           Voter history file ...................37

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1         period of time when Georgia was using DRE machines?

2                   A     That's correct.

3                   Q     And who were you a poll watcher for?

4                   A     What party?     What political party?

5                   Q     Correct.

6                         THE WITNESS:      Do I have to answer that?

7                         MR. CROSS:     Was it public?         It is public

8         record.

9                         THE WITNESS:      Democratic Party.

10        BY MR. RUSSO:

11                  Q     Okay.   And did you receive any training for

12        your poll watcher duties?

13                  A     I think we were sent -- we either downloaded

14        from the Internet or were sent a packet with

15        information about how to behave, you know, how to

16        conduct ourselves, and what we could and could not do.

17                  Q     And did you receive any training around the

18        voting equipment?

19                  A     Secretary Cox, Cathy Cox and Kathy Rogers

20        held some information workshops that I attended.                     I

21        can't remember if it was one or more.                  But I did go to

22        those.        And they explained how the machines worked and

23        basically how elections were run on the DREs with

24        slides and presentations.

25                  Q     And did the -- did any of that training

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1         include aspects around the hardware or programming of

2         the machines?

3                   A   I don't think so.

4                   Q   Have you ever received training or education

5         related to computer programming or security -- computer

6         security?

7                   A   Like a formal program?

8                   Q   We can -- I mean, if it's a -- we can start

9         with that.      Is there a formal -- have you ever received

10        any training or education, a formal program around

11        computer security or computer programming?

12                  A   I received web development training, you

13        know, writing code for web development.             I worked at

14        Emory University.       So I took classes.

15                  Q   Tell me about that.         What was that training?

16        Was it a course or a program?

17                  A   I took courses in various softwares that are

18        used for developing -- writing code for websites.

19                  Q   And when was that?

20                  A   I worked at Emory for 27 years.         So it was

21        during that time that I worked at Emory.

22                  Q   When did you stop working at Emory?

23                  A   May the -- May last year, 2021.

24                  Q   So when do you recall when the last course

25        you took was?

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1                   A   Maybe -- well, I couldn't speculate.          It was

2         in my early years.       So probably within the first ten

3         years of my employment at Emory.

4                   Q   And you started in about 1995 or '4?

5                   A   I think it was 1994.

6                   Q   You founded Georgians for Verified Voting; is

7         that correct?

8                   A   That's correct.

9                   Q   And why did you -- excuse me.        Why did you

10        found -- why did you start Georgians for Verified

11        Voting?

12                  A   I was concerned about the voting system, the

13        security reliability and verifiability of the voting

14        system in Georgia, the DRE voting system.

15                  Q   And what do you mean by the "security,

16        reliability, and verifiability of the DRE system"?

17                  A   Well, the transparency because the -- what I

18        had learned by 2003 was that the election system was

19        all electronic.      And so there was no

20        software-independent way to determine the election

21        results other than the software code.

22                  Q   And so how did you learn about the system

23        that raised these concerns?

24                  A   I found experts to talk to and started

25        funding studies.

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1                   Q    And what were the security concerns

2         specifically that you'd learned about?

3                   A    What I understood was that -- and this was

4         from a National Institutes of Standards and Technology

5         white paper is that voting systems needed a software

6         independent mechanism for -- that would -- that could

7         be used to compare against the election results from

8         the software code.

9                   Q    Can you explain that further, the software

10        independent mechanism?         What is that?

11                  A    For example, if the software code is all on

12        computer, it's electronic, then a software independent

13        is a paper record.

14                  Q    So then -- all on a computer and has a paper

15        record.       It's -- it -- but it would not be a software

16        independent mechanism.

17                       Is that what I understand you saying?

18                       (Reporter clarification.)

19                  Q    So if the -- you said it's -- the software

20        independent system is one that is -- is not all

21        electronic and has a paper component.              And so I was

22        simply asking if it -- the system has any paper

23        component and then it's, according to you, a software

24        independent mechanism; is that correct?

25                       I'm just trying to understand what -- exactly

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1                   A   I don't recall having ballot marking devices

2         back then.      I think it was about 2006, maybe -- 2004,

3         2006.

4                   Q   How would this definition apply differently

5         to a ballot marking device?

6                       MR. CROSS:     Objection to form.        Calls for an

7         expert conclusion.

8         BY MR. RUSSO:

9                   Q   In your opinion, how would -- how would this

10        definition be different for a ballot marking device?

11                      MR. CROSS:     Same objection.

12                      You can answer.

13                      THE WITNESS:     Okay.      Ballot marking device --

14        the ballot marking device that's used in Georgia does

15        not have a voter-verified paper ballot.

16        BY MR. RUSSO:

17                  Q   And can you explain to me how -- then what --

18        what do you believe is a voter-verified paper ballot

19        for a ballot marking device?

20                  A   For a ballot marking device or the Georgia

21        election system ballot marking device?

22                  Q   We can just go with a ballot marking device

23        generally for now.

24                      MR. CROSS:     Objection.       Form.   Overbroad and

25        calls for an expert conclusion.

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1         yes.

2                   A   Oh, okay.

3                   Q   So it appears you've got a fairly lengthy

4         voting record; right?          You've been voting for many

5         years; right?

6                   A   I've voted for many years, yes.

7                   Q   And looking at the ballot type, it appears

8         that in -- up to 2018, the general election, you had

9         voted a regular ballot, so in person.

10                      Does that -- does that sound correct to you?

11                  A   I don't remember when I first started voting

12        on an absentee ballot.           So I would have to use your

13        record as -- when I started, but I don't remember.

14                  Q   Do you -- do you -- does the record look

15        accurate to you in terms of that -- that timing of 2018

16        when you started voting absentee?

17                      MR. CROSS:      Objection.        Speculative.

18        BY MR. RUSSO:

19                  Q   Well, what I want to ask is, you know,

20        since -- it shows here that you voted absentee in the

21        general election in 2018 and since that time.

22                      Do you recall any time since 2018 that you

23        have not voted absentee by mail?

24                  A   No, I don't.

25                  Q   Okay.   And prior to 2018, your record

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1                   A   That's correct.

2                   Q   And do you -- do you have any evidence that

3         any of those absentee ballots weren't accurately

4         counted?

5                   A   I have no evidence that they were or were not

6         accurately counted.

7                   Q   You said you have no evidence that they were

8         or were not?         I'm sorry.     My speaker cut out.

9                   A   Yes.     I have no evidence they were or were

10        not counted accurately.

11                  Q   And do you have any evidence that any of the

12        votes you cast on the DRE machines were altered in any

13        way?

14                  A   No, I do not.

15                  Q   What about for the absentee ballots that you

16        voted, do you have any -- any evidence that -- that any

17        of the votes you cast on an absentee ballot were

18        altered in any way?

19                  A   I'm sorry.      Could you repeat that?

20                  Q   For the absentee ballots that you voted, do

21        you have any evidence that any of those ballots were

22        ever altered in any way?

23                  A   No, I don't.

24                  Q   And you stated earlier that you have not

25        voted on a BMD ballot, the new current system.             When I

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1         refer to a BMD ballot, unless I say otherwise, I'm

2         referring to Georgia's current voting system.

3                   A    I have not voted on a ballot marking device

4         in Georgia's current voting system.

5                   Q    And do you have any plans to vote on one in

6         the future?

7                   A    I do not.

8                   Q    Well, you plan to vote absentee by an

9         absentee paper ballot in the future; is that right?

10                       MR. CROSS:      Vincent, can you ask it again?

11        You kind of got hung up.

12        BY MR. RUSSO:

13                  Q    I'm sorry.      I said so you said you plan to

14        vote absentee paper ballots in the future by mail-in

15        ballot?

16                  A    As long as the voting system is the current

17        ballot marking device voting system, that's correct.                   I

18        plan to vote absentee by paper ballot.

19                      (Exhibit 4 Marked for Identification.)

20        BY MR. RUSSO:

21                  Q    Give me one second.           I apologize here.

22        Marked as Exhibit 4 -- and let me know when you have

23        it.

24                       MR. CROSS:      We have it.

25

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1         BY MR. RUSSO:

2                   Q   Okay.   I've marked the Curling -- what we've

3         been calling the Curling plaintiffs, such as Donna

4         Curling, yourself, and Jeffrey Schoenberg.             When I

5         refer to the Curling plaintiffs, that's what I'm --

6         that is who I'm referring to.             Is that acceptable for

7         you?

8                   A   Yes.

9                   Q   And so I'm showing you what's been marked as

10        Exhibit 4, the third amended complaint of the Curling

11        plaintiffs.      Have you -- have you seen this document

12        before?

13                  A   So that's 2019.       To the best of my knowledge,

14        yes.

15                  Q   And I want to turn to paragraph 16 of the

16        complaint.      It is on page 8.

17                  A   Yes.

18                  Q   And it says, "Plaintiff Donna Price as an

19        elector of the state of Georgia and a resident of

20        DeKalb County."       Do you see that?

21                  A   Yes, I do.

22                  Q   And are you still a resident -- you're still

23        a resident of DeKalb County; correct?

24                  A   Yes.

25                  Q   And if you go down to about the ninth line,

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1         it states, "Without the intervention of this Court,

2         Price will be compelled to choose between relinquishing

3         her right to vote and acquiescing to cast her vote

4         under a system that violates her right to vote and to

5         have her vote accurately counted."                Do you see that?

6                   A   I see that.

7                   Q   And please explain how you'd be compelled to

8         choose between relinquishing your right to vote and

9         acquiescing to cast your vote under a system that

10        violates your right to vote and to have your vote

11        accurately counted unless the Court intervenes.

12                      MR. CROSS:     Objection.      Call for a legal

13        conclusion.

14                      You can answer, Ms. Price.

15                      THE WITNESS:     I agree to what that says,

16        that, if I have to vote on the current voting system,

17        that it does relinquish my right to vote -- to cast a

18        vote under a system that violates my right to vote and

19        have my vote accurately counted.

20        BY MR. RUSSO:

21                  Q   And how is that?

22                      MR. CROSS:     Same objection.

23                      THE WITNESS:     If I vote on the electronic --

24        the current BMD system, I'm not able to cast a

25        voter-verified paper ballot.           If I go onto the -- and

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1         also, if I vote under the absentee ballot system, there

2         are lots of barriers to being able to cast my vote.

3         And then once I do, I'm not able to, for instance, feed

4         that ballot -- see that that ballot is actually fed

5         into the lockbox, the optical scanner and lockbox at

6         the precinct, like my fellow voters can do if they're

7         using the BMD.

8                       And I know that the -- that Georgia does not

9         currently have postelection risk limiting audits.             And

10        that is another component to being able to secure my

11        right to vote.

12        BY MR. RUSSO:

13                  Q   And you would agree with me, though, that

14        your -- you'd still be able to cast a ballot -- does

15        that -- on a BMD if you voted in person; correct?

16                  A   I don't agree that I would not be able to

17        cast a voter-verified ballot.

18                  Q   But would you -- my question is you would be

19        able to cast a ballot; correct?

20                  A   Well, a voter-verified ballot is an essential

21        record of my selections in the election.

22                  Q   And I -- I understand that you are saying you

23        want to be able to cast a voter-verified paper ballot.

24        And based on your understanding of a voter -- what that

25        means, I'm simply asking:          There's no -- if you went to

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1         go vote in the next election in person, there's no --

2         there's no other reason you'd be denied the opportunity

3         to vote?

4                       MR. CROSS:     Objection.      Calls for

5         speculation.      Vague.

6                       THE WITNESS:     My understanding, if I vote on

7         a ballot marking device, is that the votes are

8         encompassed in a QR code; and I cannot validate that

9         those are the ballots -- the selections that I made.

10        The QR code is what's read by the scanner.

11                      So I would not be able to vote in a

12        constitutional manner just only considering that first

13        part of the process, which is marking the ballot on the

14        ballot marking device and printing it out.

15        BY MR. RUSSO:

16                  Q   And I -- and I'm just trying to understand

17        how you would not be able to use the device.             I

18        understand that you have a difference in -- in thought

19        of what is a voter-verified paper ballot, but what

20        other burdens are there on your right to vote?

21                  A   The primary record of my vote is a

22        voter-verified paper ballot.           Without that, there's no

23        primary record.      There's no record that I have verified

24        to say that that's the votes -- those are the

25        selections that I made for candidates and issues.

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1                   Q   Well, let me ask this:         Are there any other

2         burdens on your right to vote in person -- or on voting

3         in person, I should say -- and I -- excuse me.                Any

4         other burdens on voting in person that -- that you --

5         you believe you'd experience if you voted in person?

6                   A   I believe I would just be going through the

7         motions of an action that simulates voting.             But

8         without a voter-verified paper ballot, I wouldn't be --

9         I wouldn't be voting.       I'd be giving that -- my vote to

10        whoever is -- and whatever is determining what's in

11        that QR code.      So that's not transparent.

12                      I think that a voter verification and the

13        transparency at that beginning step of in-person voting

14        today on Georgia's BMD election system is a barrier to

15        my ability to vote.

16                  Q   Do you have any evidence of the -- any QR

17        codes on the BMD ballot containing votes, summaries

18        that are different than those listed on the paper

19        ballot?

20                  A   Well, I can't read a QR code.         So I couldn't

21        have any evidence.

22                  Q   Do you have -- okay.

23                      Do you have any evidence of anyone -- any

24        voter who has selected a candidate on the touch screen

25        of the ballot marking device and the printout has been

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1         different -- has printed a different name than the

2         individual selected?

3                   A   I have no personal evidence.          I have the

4         knowledge of -- that I've gotten from experts and in

5         our lawsuit -- our experts' declarations that --

6         they're the authorities on it since I'm not an expert

7         on the technology.

8                   Q   So you've reviewed the declarations of the

9         experts in this case; is that correct?

10                  A   I've reviewed the declarations that are not

11        privileged and confidential.           And those that -- I

12        understand that there is information from our experts

13        that is confidential that might inform me more.              But I

14        haven't -- I haven't been able to see that.

15                  Q   You stated earlier about the transparency

16        with the BMD and the QR code and knowing what vote

17        selections are contained within that QR code.              And I

18        just want to make sure I understand.              That -- that is

19        the scope of your complaint with the current BMD

20        system; is that right?

21                      MR. CROSS:     Objection to form.

22                      THE WITNESS:     No.    That's not correct.

23        BY MR. RUSSO:

24                  Q   So what is this -- what is, then, the scope?

25                  A   The scope includes voter -- lack of voter

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1         verification, nontransparency, concerns about the

2         security of the election system, and the fact that the

3         election system doesn't include postelection risk

4         limiting audits.

5                   Q      That's -- so that's the full scope?

6                   A      That's also -- that's also the possibility of

7         the -- other than malfeasance or security problems,

8         just problems with the technology, errors that can be

9         made.         So all of the components that I mentioned are

10        essential for -- to protect my constitutional right to

11        cast a vote and have a reasonable -- reasonable

12        expectation that that vote was counted as cast.

13                  Q      And how is that different from every voter's

14        reasonable expectation?

15                         MR. CROSS:     Objection to form.   Calls for

16        speculation.

17        BY MR. RUSSO:

18                  Q      Don't you agree every voter wants to have

19        their vote counted accurately?

20                         MR. CROSS:     Objection to form.   Calls for

21        speculation.

22                         THE WITNESS:     I can only speak for myself.

23        BY MR. RUSSO:

24                  Q      So you -- you don't think other voters want

25        to have their ballot counted accurately?

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1         you're referencing?

2                       MR. CROSS:     Objection.      Misstates her

3         testimony.

4                       THE WITNESS:     Well, I've already answered

5         that question.

6         BY MR. RUSSO:

7                   Q   Well, it misstates your testimony because you

8         didn't actually answer it.           Well -- so do -- you don't

9         have any then -- any particular elections that you

10        believe the results are indeterminable?

11                      MR. CROSS:     Asked and answered.

12                      THE WITNESS:     I've already answered that

13        question.

14                      MR. RUSSO:     Okay.    And, again, the answer's

15        nonresponsive.

16        BY MR. RUSSO:

17                  Q   What about -- you mentioned the DREs.             So

18        what about -- or excuse me, BMDs.                 What about the BMDs?

19        Which -- which election results that -- for elections

20        that were conducted using BMDs are indeterminable?

21                  A   I would say all of them.

22                  Q   So is it your -- is it your belief that the

23        results of the 2020 general election are -- were

24        indeterminable?

25                  A   I don't know if the election results were

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1         BY MR. RUSSO:

2                   Q   So you don't know what relief you're seeking?

3                       MR. CROSS:     Objection.      Mischaracterizes her

4         testimony.

5         BY MR. RUSSO:

6                   Q   Do you know what relief you're seeking?

7                   A   For myself, I know that I'm seeking

8         constitutional right to vote on the election system in

9         Georgia and have a reasonable assurance that my vote

10        will be counted as cast.

11                  Q   And how would you -- how would you know that

12        your vote is counted as cast under the system that you

13        would like?

14                      MR. CROSS:     Objection.      Calls for expert

15        conclusion.

16                      You can answer.

17                      THE WITNESS:     I rely on the information that

18        I'm given by experts who have testified and provided

19        information for our lawsuit, and other experts on what

20        is a secure, accurate, verifiable, auditable voting

21        system, what's a constitutional voting system.

22        BY MR. RUSSO:

23                  Q   So you're relying on your experts?

24                  A   That's correct.      And the knowledge of

25        experts.      And I wonder if we could take a break.

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1         is.       If we were sitting in court, and you asked a lay

2         witness for an expert opinion --

3                        MR. RUSSO:    In court, it would be different,

4         of course.

5                        MR. CROSS:    It is an objection to form.      It

6         is literally an objection to the form of the question.

7                        If you want to rephrase, you're welcome to.

8         BY MR. RUSSO:

9                   Q    Ma'am -- Ms. Price, what is -- what is

10        your -- what is your opinion on whether a hacker trying

11        to access an election system makes such election system

12        untrustworthy?

13                       MR. CROSS:    I'll object as overbroad and

14        calls for speculation.

15        BY MR. RUSSO:

16                  Q    You can still answer it.

17                  A    Okay.   From what I understand you're saying,

18        if experts say a voting system might be attacked and it

19        might -- or might be vulnerable to outside hackers,

20        then do I agree that that makes a voting system

21        vulnerable?       Is that the question?

22                  Q    Sure.

23                  A    I think I have to rely on security experts,

24        voting security experts, to know whether a specific

25        system, meaning the Georgia BMD voting system, is

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1         vulnerable to attacks.         And those voting experts --

2         voting system experts and security experts have

3         testified or made declarations in our lawsuit, some of

4         which I have not had access to.              So my answer is I

5         would have to defer to the experts on that question to

6         answer that question.

7                   Q   Okay.   Let's turn to paragraph 72 on page 23.

8         It states that the proposed election system will not be

9         substantially safer than the current system because

10        BMDs remain susceptible to manipulation, and the

11        proposed system does not provide any meaningful way for

12        a voter to audit their vote.

13                      I'm trying to understand what you mean by

14        "substantially safer" in this allegation.

15                      MR. CROSS:     Objection.       The document speaks

16        for itself.

17                      THE WITNESS:     Well, I agree to that

18        paragraph.

19        BY MR. RUSSO:

20                  Q   What would make the proposed election system

21        substantially safer than the current system, which I

22        think it's referring to DREs?

23                      MR. CROSS:     Objection.       Calls for expert

24        opinion.

25                      THE WITNESS:     Georgia's no longer voting on

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1                   Q     I was just confirming that those are

2         accurate.

3                   A     Yes.

4                   Q     Now, turning to paragraph 10.                It states "I

5         have learned of the extreme vulnerability of Georgia's

6         system to undetectable errors and malicious tampering

7         and the failure of the system to provide a

8         voter-verified mechanism independent of software for

9         auditing the electronic results."                      Do you see that?

10                  A     Yes.

11                  Q     And what -- how did you learn of the extreme

12        vulnerability referenced in this paragraph?

13                  A     I learned from experts.

14                  Q     And -- well, go ahead.            I'm sorry.

15                  A     No.     I was just going to say experts in the

16        field.        So election integrity experts and technology

17        experts.

18                  Q     And do you recall any particular experts who

19        you learned from?

20                  A     Alex Halderman.

21                  Q     And what are the undetectable errors in

22        Georgia's voting system that you're referring to?

23                  A     Well, in this paragraph, I'm talking about

24        the vulnerability of the system to errors.

25                  Q     Okay.     And can you explain that for me, what

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1         you mean?

2                   A     I would have to refer to papers from the

3         courts and other information that I read or obtained

4         through the experts that I mentioned because I'm not a

5         technology, you know, a security technology expert.

6                   Q     And what do you -- what are the extreme

7         vulnerabilities to malicious tampering that you're

8         referencing?

9                   A     I think I've already answered that.

10                  Q     I don't believe we've talked about any

11        malicious tampering.

12                  A     It's vulnerability to tampering.

13                  Q     Right.   So do you know of any vulnerability

14        to malicious tampering?

15                  A     Well, the Kennesaw elections system was

16        extreme vulnerability.

17                  Q     So to malicious tampering?

18                  A     It was a vulnerability.

19                  Q     And was it a vulnerability to malicious

20        tampering?

21                  A     From what I understand.

22                  Q     And tell me.     What do you understand?

23                  A     Well, from what I can remember from the

24        report, passwords for getting into the system were

25        found.        It's all in Logan Lam's report.        So I'd have to

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1         refer to that report or just defer to Logan Lam's

2         information about that report.            That's just been

3         introduced into our lawsuit as expert information.

4                   Q   And you mentioned a server.          Do you know

5         anything more about -- you know anything about the

6         server that you mentioned?

7                   A   Like, I did read the e-mails and I read the

8         reports from Kennesaw about the fact that that election

9         system at Kennesaw was left open to the Internet.

10                  Q   Do you have personal knowledge of any of

11        these issues, or are they reliant upon your experts?

12                  A   I didn't work at Kennesaw.          I wasn't part of

13        the investigation.

14                  Q   I'm sorry.   Go ahead.

15                  A   I wasn't involved in -- personally in any way

16        in the investigation or the FBI when they investigated

17        someone.      I had no personal involvement in that

18        activity.

19                  Q   Now, earlier you testified that the

20        vulnerabilities -- and we've been referring to your

21        complaint -- the vulnerabilities in the DRE are the

22        same -- the security vulnerabilities are the same as

23        those in BMDs.      Do you recall that?

24                      MR. CROSS:   Objection.        Misstates her

25        testimony.      That's not what she said.

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1                       You keep reversing it.            You keep turning it

2         around.

3         BY MR. RUSSO:

4                   Q   You just stated that the DREs, the

5         vulnerabilities to the DREs were due to compromise.

6         And my question is what are the vulnerabilities that

7         you believe exist in the BMD system?

8                       MR. CROSS:      Objection.        Asked and answered

9         numerous times today.          And calls for a legal -- expert

10        conclusion.

11                      THE WITNESS:       So as I've said before, there

12        are experts who have given their opinion in this

13        action, this lawsuit as to the vulnerabilities,

14        security vulnerabilities of the system and most of the

15        recent ones with the BMDs have gone -- have been

16        confidential.         So I haven't read those reports.         And I

17        would just be -- even if I had read them, it's the

18        experts who came to those conclusions.

19        BY MR. RUSSO:

20                  Q   Okay.     Turning to paragraph 11 on the last

21        page of your declaration, it states "I became even more

22        concerned about the security of Georgia elections in

23        the light of the public disclosure that an election

24        server administered by the state's contractor, Center

25        for Election Systems at Kennesaw State University, left

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1         critical election data open on the Internet without a

2         firewall in at least 2016 and 2017 susceptible to

3         anyone with Internet access."

4                       Now, how do you know that this server was

5         accessible to anyone with Internet access?

6                   A   Because that's what the experts say.            And the

7         report was from Kennesaw.             And the news reports.

8                   Q   You refer to, again, election server.             What

9         do you mean here in this paragraph by "election

10        server"?

11                      MR. CROSS:      Asked and answered.

12                      MR. RUSSO:      I don't think I asked her about

13        this paragraph.

14                      MR. CROSS:      You asked about the server.

15                      Go ahead.     He justs wants you to repeat

16        yourself throughout the day today.

17        BY MR. RUSSO:

18                  Q   I'm just trying to understand if this is

19        what -- do you know anything about this election

20        server?

21                  A   Just what I read.          I did have access to

22        e-mails, to news, to reporting from the Secretary of

23        State's office.      So I -- you know, and Logan Lam's

24        declaration in our lawsuit.

25                  Q   And then you also mention here critical

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1                       THE WITNESS:    I have not handled the paper

2         record that's printed by BMD -- by the Dominion Voting

3         System BMD.

4         BY MR. RUSSO:

5                   Q   So you don't know based on that if it's

6         durable?

7                   A   I don't know if it's durable.       That's

8         correct.

9                   Q   And then you go on to say you have no

10        confidence -- "I have no confidence that the results of

11        a given election conducted using the proposed election

12        system will be accurate or reliable."

13                      And just so there's no confusion, that

14        defined, the capitalized term "Proposed Election

15        System" is referring to in paragraph 70 the Dominion

16        Voting System just to avoid any confusion.

17                      So what do you mean that you have no

18        confidence that the results of any given election

19        conducted on the Dominion BMD system are accurate and

20        reliable or will be accurate and reliable?

21                  A   Well, for one, I can't read bar codes.         So

22        does the proposed election system which is the current

23        Dominion ballot marking device system does not allow me

24        to cast voter-verifiable -- voter-verified ballot.

25                  Q   And so any election conducted on a BMD system

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1         you have no confidence in the accuracy and the

2         reliability of the election results?

3                   A   Well, that's what I said.           Without a durable

4         vote -- voter-verified record to audit, I can't have

5         confidence that the results are accurate and reliable.

6                   Q   And what would be a type of audit that -- if

7         you could select, you know, any type of audit that

8         Georgia would have, what would be the type of audit

9         that would give you that confidence?

10                  A   Well, this particular paragraph is talking

11        about having the voter-verified ballot and having the

12        bar code being a problem with that.               It doesn't address

13        what kind of audit.

14                  Q   I'm asking for you, what type of audit would

15        give you confidence?       And that might mean that there is

16        none.

17                  A   I think the experts have recommended

18        risk-limiting audits.       And that's part of our lawsuit

19        too.

20                  Q   And paragraph 9 of this declaration says "I

21        understand that the proposed election system thus

22        suffers from systemic vulnerabilities to advanced

23        persistent threats just as Georgia's GEMS/DRE election

24        system does."

25                      What is your understanding of the systemic

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1         vulnerabilities to advanced persistent threats

2         mentioned in this paragraph?

3                   A   I think that I've already answered that.           But

4         without being able to verify that the ballot which I

5         mark as a voter or I mark my selections and I can't

6         verify those selections, then that's a threat to the

7         results of the election being accurate.

8                   Q   And what did you mean by "advanced persistent

9         threats" then?

10                  A   Well, I would think that an advanced

11        persistent threat would definitely describe what little

12        I know about the reports from our expert -- report from

13        Dr. Halderman that I have not read.               But I think that

14        that would be --

15                  Q   And then in paragraph 11, you state "Were the

16        Court to order that Georgia cannot implement and use

17        the proposed election system but must instead use

18        hand-marked paper ballots for all voters who can hand

19        mark which a voter can review to verify that her votes

20        are cast as intended and would be counted as cast, I

21        would perceive less risk in casting my ballot in

22        person."      Do you see that?

23                  A   Yes.

24                  Q   And I'm going to kind of focus on the part of

25        this that's referring to what you're asking and it's

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1                        Now, the next sentence says "Unfortunately,

2         voting by absentee paper ballot imposes other burdens

3         on me as a voter and even potential disenfranchisement

4         entirely."

5                        Now, you have -- what do you mean that voting

6         by absentee paper ballot poses other burdens on you?

7                        MR. CROSS:    Objection.        Asked and answered.

8         BY MR. RUSSO:

9                   Q    I don't recall asking about the burdens from

10        absentee ballots.        I did ask about burdens on you at

11        the -- what you believe to be the burdens on you for

12        having to vote on a BMD.           So if you could just remind

13        me.       What are -- what burdens are on you by voting by

14        absentee paper ballot?

15                  A    I believe in further statements on this

16        declaration, that it goes into more detail.

17                  Q    Could you point me?

18                  A    I can read it.      It's like "I'm forced to

19        forgo the privilege, honor, and right to vote alongside

20        my fellow voters."

21                  Q    So that was the burden?

22                  A    Yeah.   It goes on to other paragraphs

23        explaining that.

24                  Q    Okay.   So if you want just tell me what those

25        other burdens are, it might help cut some of this down.

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1         I see what you're -- you're referring to the burdens

2         you say in paragraph 13.             Is that what you're referring

3         to, "minefield"?

4                   A      I don't know if there were things earlier,

5         you know, between the paragraphs.                     But yes, that's

6         definitely some of them.

7                   Q      Okay.   So it's your position that the

8         requirement to request an absentee ballot is a burden?

9                   A      Yes.

10                  Q      Now, you get to actually request -- make one

11        request, and it counts for all of the elections in an

12        entire cycle; isn't that right?

13                  A      Not necessarily.

14                  Q      Okay.   And why is that?             What do you mean?

15                  A      Well, for example, in the last primary that I

16        voted in -- and it's written about in this declaration,

17        the problems that I had.             And I never really knew it

18        counted.         I was sent an extra ballot by the Secretary

19        of State and I didn't know if I was -- because more

20        candidates had been added to the primary.                     And I didn't

21        know if the ballot that I sent in in February posted

22        those elections, which it was only a couple, were

23        counted or should I vote on the new one that I was

24        sent.         And so I tore it up because I knew the threat

25        that people, you know, were being accused of voting

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1                              CERTIFICATE OF REPORTER

2         STATE OF NORTH CAROLINA                 )

3         COUNTY OF MECKLENBURG                   )

4                   I, MEREDITH R. SCHRAMEK, hereby certify that the

5         witness whose testimony appears in the foregoing

6         deposition was duly sworn by me; that the testimony of

7         said witness was taken by me to the best of my ability

8         and thereafter reduced to typewriting under my

9         direction; that I am neither counsel for, related to,

10        nor employed by any of the parties to the action in

11        which this deposition was taken; and, further, that I

12        am not a relative or employee of any attorney or

13        counsel employed by the parties thereto, nor

14        financially or otherwise interested in the outcome of

15        the action.

16                  I further certify that I have no direct contract

17        with any party in this action, and my compensation is

18        based solely on the terms of my subcontractor

19        agreement.

20                  Nothing in the arrangements made for this

21        proceeding impacts my absolute commitment to serve all

22        parties as an impartial officer of the court.

23                  This, the 14th day of March, 2022.

                                    <%21575,Signature%>

24                                 ______________________

25                                 MEREDITH R. SCHRAMEK, RPR, CCR 3040

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